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                          UNITED STATES DISTRICT COURT
                             DISTRICT OF NEW JERSEY

 UNITED STATES OF AMERICA,
                                                 Civil Action No.
                     Plaintiff,
                                                 COMPLAINT
           v.

 BMW FINANCIAL SERVICES NA, LLC,

                    Defendant.
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        Plaintiff, the United States of America (the “United States”), by its undersigned attorneys,

files this Complaint and alleges as follows:

                                        INTRODUCTION

        1.     The United States brings this action under the Servicemembers Civil Relief Act

(“SCRA”), 50 U.S.C. §§ 3901-4043, against BMW Financial Services NA, LLC ( “Defendant”)

for violating the SCRA by failing to refund, on a pro rata basis, lease amounts – in the form of

capitalized cost reduction (“CCR”) – paid in advance by servicemembers who lawfully terminated

their automobile leases upon receipt of qualifying military orders. See 50 U.S.C. § 3955.

        2.     The purpose of the SCRA is to provide servicemembers with protections to enable

them to devote their entire energy to the defense needs of the Nation and to protect their civil rights

during military service. See 50 U.S.C. § 3902. One of those protections is the right of a lessee to

terminate a motor vehicle lease without penalty at any time: (1) after entering military service, if

their orders call for at least 180 days of service; (2) after receiving qualifying military orders that

permanently reassign the servicemember to another location; or (3) after receiving military orders

to deploy for at least 180 days. See 50 U.S.C. § 3955(b)(2).

        3.     Within 30 days of the effective date of the lease termination, the lessor must refund

any lease amounts that the servicemember paid in advance to cover a period occurring after the

effective date of the lease termination. See 50 U.S.C. § 3955(f).

        4.     A lessor who fails to refund to a servicemember any prepaid lease payments for the

period after lease termination violates that servicemember’s federally protected rights under the

SCRA.




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                                  JURISDICTION AND VENUE

       5.        This Court has jurisdiction over this action under 28 U.S.C. §§ 1331, 1345, and 50

U.S.C. § 4041.

       6.        Defendant is a Delaware limited liability company, administered from, and with a

principal place of business at, 300 Chestnut Ridge Road, Woodcliff Lake, New Jersey.

       7.        Venue is proper in this jurisdictional district under 28 U.S.C. § 1391(b) because

Defendant’s principal place of business is in the District of New Jersey, and Defendant conducts

business within the District of New Jersey.

                                             DEFENDANT

       8.        Defendant provides leasing, retail, and commercial finance services for dealers and

customers of BMW, MINI, and Rolls-Royce. It is a subsidiary of BMW North America and was

formed in 1993 to support its parent’s sales and marketing efforts in the United States. Defendant

offers leases for BMW, MINI, and Rolls-Royce vehicles through its dealers. According to

Defendant’s website, Defendant has total assets in excess of $24 billion.

                                   FACTUAL ALLEGATIONS

       9.        Leasing is a popular option for consumers seeking an automobile. When consumers

lease automobiles, they are allowed use of the vehicle for a specified period of time, during which

the consumer (or lessee) makes monthly payments. The monthly lease payments include payment

for possession and use of the vehicle, as well as any up-front costs that have been financed. At the

conclusion of the lease period, the consumer usually has the option either to return the vehicle to

the dealership or to purchase the vehicle outright.

       10.       Often, the lessee contributes an up-front monetary amount at lease signing, in the

form of a cash payment, credit for a trade-in vehicle, or rebates or other credits. A portion of this



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up-front amount is applied to the first-month’s rent, and it may also be applied to certain up-front

costs. The remainder, which is called the capitalized cost reduction (“CCR”) amount, operates to

reduce the monthly payment the lessee must make over the term of the lease.

           11.   Many servicemembers, both active duty and members of the Reserves or National

Guard, have leased vehicles from Defendant. Since 2011, Defendant has received hundreds of

requests from servicemembers to terminate their motor vehicle leases under Section 3955 of the

SCRA, including many instances involving leases where the servicemember provided CCR

amounts in the form of cash payments or vehicle trade-in credits. In such instances, Defendant’s

policies do not provide for the refund of any portion of servicemembers’ CCR amounts, and

Defendant has not, in practice, provided refunds of any portion of servicemembers’ CCR amounts.

           Air Force Senior Master Sergeant Steck

           12.   In October 2014, Kristi Steck, then a senior master sergeant (SMSgt) in the U.S.

Air Force stationed at Andrews Air Force Base in Maryland, leased a 2015 BMW 328i from

Defendant.

           13.   At the time of lease signing, SMSgt Steck received a credit of $4,160 for the trade-

in of her previous vehicle, plus a rebate credit of $500. After applying $497.55 to the first month’s

payment, she paid CCR in the amount of $4,162.45. The CCR acted to reduce her monthly lease

payment to less than it would have been without the CCR.

           14.   At the time of lease signing, the salesperson informed SMSgt Steck that she would

receive a refund of a portion of her deposit if she received military orders requiring a change of

station.

           15.   SMSgt Steck made regular monthly lease payments for the next ten months.




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       16.     In June 2015, SMSgt Steck received permanent change of station (“PCS”) orders

from the Air Force ordering her to relocate to Japan.

       17.     Accordingly, SMSgt Steck contacted Defendant to terminate her lease prior to its

expiration pursuant to the SCRA, providing written notice of termination and a copy of her PCS

orders. Defendant allowed her to terminate the lease, but denied her request for a partial refund of

the CCR amount after she returned the vehicle.

       18.     Despite repeated requests by SMSgt Steck for a refund, Defendant refused to refund

any portion of her CCR payment.

       19.     In September 2015, SMSgt Steck reported to her new assignment, where she will

be serving until September 2018.

       Air Force Technical Sergeant Menard

       20.     In February 2015, Technical Sergeant (TSgt) Andrew Menard, who was also

stationed at Andrews AFB, leased a 2015 BMW 328i from Defendant.

       21.     The lease included an amount due at signing of $5,500, which included $5,000 in

trade-in value for his previous vehicle and a $500 rebate credit. After applying $486.10 to the first

month’s payment, TSgt Menard paid CCR in the amount of $5,013.90. The CCR acted to reduce

his monthly lease payment to less than it would have been without the CCR.

       22.     TSgt Menard made regular monthly lease payments for approximately seven

months.

       23.     In September 2015, TSgt Menard received orders from the Air Force to deploy to

Afghanistan the following month for 186 days.

       24.     After receiving these orders, TSgt Menard contacted Defendant to terminate his

lease prior to its expiration pursuant to the SCRA. Defendant allowed him to terminate the lease,



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but did not refund TSgt Menard any part of his CCR amount after he returned the vehicle. TSgt

Menard asked Defendant about receiving a refund of pre-paid amounts, but Defendant told him

that they were not refundable.

          25.    TSgt Menard deployed to Afghanistan in October 2015 for approximately six

months.

          United States’ Investigation

          26.    On August 24, 2016, the Department of Justice notified Defendant that it was

opening an investigation into Defendant’s leasing practices, and requested documents from

Defendant, including Defendant’s SCRA policies and procedures, documents related to lease

termination requests under the SCRA, and files related to SMSgt Steck’s and TSgt Menard’s

leases.

          27.    Defendant provided the requested information to the Department of Justice,

including policy documents and documents related to servicemembers’ lease termination requests

since 2011. The documents confirmed that Defendant does not, as a matter of policy or practice,

refund any portion of CCR amounts to servicemembers who terminate their motor vehicle leases

under Section 3955 of the SCRA.

                  SERVICEMEMBERS CIVIL RELIEF ACT VIOLATIONS

          28.    The SCRA provides that “[t]he lessee on a [motor vehicle] lease . . . may, at the

lessee’s option, terminate the lease at any time after . . . the date of the lessee’s military orders . . .

.” 50 U.S.C. § 3955(a)(1). This option applies to servicemembers who “while in military service,

execute[ ] the lease and thereafter receive[ ] military orders– (i) for a permanent change of station–

(I) from a location in the continental United States to a location outside the continental United

States; or (II) from a location in a State outside the continental United States to any location outside



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that State; or (ii) to deploy with a military unit, or as an individual in support of a military operation,

for a period of not less than 180 days.” 50 U.S.C. § 3955(b)(2). The same option also applies to

leases “executed by or on behalf of a person who thereafter and during the term of the lease enters

military service under a call or order specifying a period of not less than 180 days (or who enters

military service under a call or order specifying a period of 180 days or less and who, without a

break in service, receives orders extending the period of military service to a period of not less

than 180 days).” Id.

        29.     Further, “[r]ents or lease amounts paid in advance for a period after the effective

date of the termination of the lease shall be refunded to the lessee by the lessor . . . within 30 days

of the effective date of the termination of the lease.” 50 U.S.C. § 3955(f).

        30.     Defendant has engaged in a pattern or practice of violating Section 3955(f) of the

SCRA, 50 U.S.C. § 3955(f), by failing to refund any portion of CCR amounts from cash payments

or vehicle trade-in credit to eligible servicemembers who terminated their motor vehicle leases

under Section 3955 of the SCRA.

        31.     Defendant’s failures to refund any portion of CCR amounts from cash payments or

vehicle trade-in credit to SMSgt Steck, TSgt Menard, and other servicemembers who terminated

their motor vehicle leases under Section 3955 of the SCRA raise issues of significant public

importance.

        32.     SMSgt Steck, TSgt Menard, and 490 other servicemembers who terminated their

motor vehicle leases under Section 3955 of the SCRA since August 24, 2011 were not refunded

CCR amounts (from cash payments or vehicle trade-in credit) that reduced amounts due after lease

signing. Those CCR amounts should have been refunded on a pro rata basis within 30 days of




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lease termination.     These 492 servicemembers are “person[s] aggrieved” under 50 U.S.C.

§ 4041(b)(2) and have suffered damages as a result of Defendant’s conduct.

       33.      Defendant’s conduct was intentional, willful, and taken in disregard for the rights

of servicemembers.

                                       RELIEF REQUESTED

       WHEREFORE, the United States requests that the Court enter an ORDER that:

             1. Declares that Defendant’s conduct violated the Servicemembers Civil Relief Act,

                50 U.S.C. § 3901, et seq.;

             2. Enjoins Defendant, its agents, employees, and successors, and all other persons and

                entities in active concert or participation with Defendant from:

                a. failing to refund, on a pro rata basis following a servicemember’s lease

                     termination under Section 3955 of the SCRA, 50 U.S.C. § 3955, Capitalized

                     Cost Reduction amounts (from cash payments or trade-in credit) that reduced

                     amounts due after lease signing;

                b. failing or refusing to take such affirmative steps as may be necessary to restore,

                     as nearly as practicable, the 492 identified victims of Defendant’s illegal

                     conduct to the positions they would have been in but for that illegal conduct;

                     and

                c. failing or refusing to take such affirmative steps as may be necessary to prevent

                     the recurrence of any illegal conduct in the future and to eliminate, to the extent

                     practicable, the effects of Defendant’s illegal conduct;

             3. Awards appropriate monetary damages under 50 U.S.C. § 4041(b)(2) to the 492

                identified victims of Defendant’s violations of the SCRA; and



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           4. Assesses civil penalties against Defendant under 50 U.S.C. § 4041(b)(3) in order to

              vindicate the public interest.

       The United States further requests such additional relief as the interests of justice may

require.




                                                    JEFFERSON B. SESSIONS III
                                                    Attorney General


                                                     /s/ John M. Gore
CRAIG CARPENITO                                     JOHN M. GORE
United States Attorney                              Acting Assistant Attorney General
                                                    Civil Rights Division


 /s/ Michael E. Campion                             /s/ Sameena Shina Majeed
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CHRISTOPHER AMORE                                   Housing & Civil Enforcement Section
Assistant U.S. Attorney
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                           Case 2:18-cv-02495 Document 1-1 Filed 02/22/18 Page 1 of 2 PageID: 10
JS 44 (Rev. 06/17)                                                         CIVIL COVER SHEET
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

I. (a) PLAINTIFFS                                                                                             DEFENDANTS
United States of America                                                                                    BMW Financial Services NA, LLC

    (b) County of Residence of First Listed Plaintiff                                                         County of Residence of First Listed Defendant              Bergen County
                                  (EXCEPT IN U.S. PLAINTIFF CASES)                                                                   (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                              NOTE:      IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                         THE TRACT OF LAND INVOLVED.

    (c) Attorneys (Firm Name, Address, and Telephone Number)                                                   Attorneys (If Known)
US Attorney's Office, District of New Jersey                                                                Buckley Sandler LLP
970 Broad Street, Suite 700                                                                                 100 Wilshire Blvd., Suite 1000
Newark, New Jersey 07102 -- (973) 645-2757                                                                  Santa Monica, California 90401

II. BASIS OF JURISDICTION (Place an “X” in One Box Only)                                         III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
                                                                                                          (For Diversity Cases Only)                                        and One Box for Defendant)
’ 1    U.S. Government                ’ 3     Federal Question                                                                     PTF        DEF                                          PTF      DEF
         Plaintiff                              (U.S. Government Not a Party)                        Citizen of This State         ’ 1        ’ 1      Incorporated or Principal Place       ’ 4     ’ 4
                                                                                                                                                         of Business In This State

’ 2    U.S. Government                ’ 4     Diversity                                              Citizen of Another State          ’ 2    ’    2   Incorporated and Principal Place    ’ 5     ’ 5
         Defendant                              (Indicate Citizenship of Parties in Item III)                                                             of Business In Another State

                                                                                                     Citizen or Subject of a           ’ 3    ’    3   Foreign Nation                      ’ 6     ’ 6
                                                                                                       Foreign Country
IV. NATURE OF SUIT (Place an “X” in One Box Only)                                                                                             Click here for: Nature of Suit Code Descriptions.
           CONTRACT                                             TORTS                                  FORFEITURE/PENALTY                         BANKRUPTCY                    OTHER STATUTES
’   110 Insurance                        PERSONAL INJURY                PERSONAL INJURY              ’ 625 Drug Related Seizure          ’ 422 Appeal 28 USC 158          ’ 375 False Claims Act
’   120 Marine                       ’   310 Airplane                 ’ 365 Personal Injury -              of Property 21 USC 881        ’ 423 Withdrawal                 ’ 376 Qui Tam (31 USC
’   130 Miller Act                   ’   315 Airplane Product               Product Liability        ’ 690 Other                               28 USC 157                       3729(a))
’   140 Negotiable Instrument                 Liability               ’ 367 Health Care/                                                                                  ’ 400 State Reapportionment
’   150 Recovery of Overpayment      ’   320 Assault, Libel &               Pharmaceutical                                                 PROPERTY RIGHTS                ’ 410 Antitrust
        & Enforcement of Judgment             Slander                       Personal Injury                                              ’ 820 Copyrights                 ’ 430 Banks and Banking
’   151 Medicare Act                 ’   330 Federal Employers’             Product Liability                                            ’ 830 Patent                     ’ 450 Commerce
’   152 Recovery of Defaulted                 Liability               ’ 368 Asbestos Personal                                            ’ 835 Patent - Abbreviated       ’ 460 Deportation
        Student Loans                ’   340 Marine                         Injury Product                                                     New Drug Application       ’ 470 Racketeer Influenced and
        (Excludes Veterans)          ’   345 Marine Product                 Liability                                                    ’ 840 Trademark                        Corrupt Organizations
’   153 Recovery of Overpayment               Liability                PERSONAL PROPERTY                         LABOR                     SOCIAL SECURITY                ’ 480 Consumer Credit
        of Veteran’s Benefits        ’   350 Motor Vehicle            ’ 370 Other Fraud              ’ 710 Fair Labor Standards          ’ 861 HIA (1395ff)               ’ 490 Cable/Sat TV
’   160 Stockholders’ Suits          ’   355 Motor Vehicle            ’ 371 Truth in Lending                Act                          ’ 862 Black Lung (923)           ’ 850 Securities/Commodities/
’   190 Other Contract                       Product Liability        ’ 380 Other Personal           ’ 720 Labor/Management              ’ 863 DIWC/DIWW (405(g))               Exchange
’   195 Contract Product Liability   ’   360 Other Personal                 Property Damage                 Relations                    ’ 864 SSID Title XVI             ’ 890 Other Statutory Actions
’   196 Franchise                            Injury                   ’ 385 Property Damage          ’ 740 Railway Labor Act             ’ 865 RSI (405(g))               ’ 891 Agricultural Acts
                                     ’   362 Personal Injury -              Product Liability        ’ 751 Family and Medical                                             ’ 893 Environmental Matters
                                             Medical Malpractice                                            Leave Act                                                     ’ 895 Freedom of Information
        REAL PROPERTY                      CIVIL RIGHTS                PRISONER PETITIONS            ’ 790 Other Labor Litigation          FEDERAL TAX SUITS                    Act
’   210 Land Condemnation            ’   440 Other Civil Rights         Habeas Corpus:               ’ 791 Employee Retirement           ’ 870 Taxes (U.S. Plaintiff      ’ 896 Arbitration
’   220 Foreclosure                  ’   441 Voting                   ’ 463 Alien Detainee                 Income Security Act                  or Defendant)             ’ 899 Administrative Procedure
’   230 Rent Lease & Ejectment       ’   442 Employment               ’ 510 Motions to Vacate                                            ’ 871 IRS—Third Party                  Act/Review or Appeal of
’   240 Torts to Land                ’   443 Housing/                       Sentence                                                            26 USC 7609                     Agency Decision
’   245 Tort Product Liability               Accommodations           ’ 530 General                                                                                       ’ 950 Constitutionality of
’   290 All Other Real Property      ’   445 Amer. w/Disabilities -   ’ 535 Death Penalty                  IMMIGRATION                                                          State Statutes
                                             Employment                 Other:                       ’ 462 Naturalization Application
                                     ’   446 Amer. w/Disabilities -   ’ 540 Mandamus & Other         ’ 465 Other Immigration
                                             Other                    ’ 550 Civil Rights                   Actions
                                     ’   448 Education                ’ 555 Prison Condition
                                                                      ’ 560 Civil Detainee -
                                                                            Conditions of
                                                                            Confinement
V. ORIGIN (Place an “X” in One Box Only)
’ 1 Original             ’ 2 Removed from                 ’ 3         Remanded from             ’ 4 Reinstated or       ’ 5 Transferred from     ’ 6 Multidistrict                  ’ 8 Multidistrict
    Proceeding               State Court                              Appellate Court               Reopened                Another District             Litigation -                   Litigation -
                                                                                                                        (specify)                        Transfer                      Direct File
                                          Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                                           Servicemembers Civil Relief Act ("SCRA"), 50 U.S.C. §§ 3901-4043
VI. CAUSE OF ACTION Brief description of cause:
                                           SCRA violation. Failed to refund advance lease amounts to servicemembers who lawfully terminated leases early.
VII. REQUESTED IN     ’ CHECK IF THIS IS A CLASS ACTION         DEMAND $                                                                           CHECK YES only if demanded in complaint:
     COMPLAINT:          UNDER RULE 23, F.R.Cv.P.                                                                                                  JURY DEMAND:         ’ Yes      ’ No
VIII. RELATED CASE(S)
                       (See instructions):
      IF ANY                               JUDGE Hon. Michael Vazquez                                                                        DOCKET NUMBER 2:09-cv-05672
DATE                                                                     SIGNATURE OF ATTORNEY OF RECORD
02/22/2018                                                              /s/ Michael E. Campion
FOR OFFICE USE ONLY

    RECEIPT #                     AMOUNT                                     APPLYING IFP                                      JUDGE                          MAG. JUDGE

                 Print                               Save As...                                                                                                                  Reset
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JS 44 Reverse (Rev. 06/17)


                     INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM JS 44
                                                               Authority For Civil Cover Sheet

The JS 44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and service of pleading or other papers as
required by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is
required for the use of the Clerk of Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of
Court for each civil complaint filed. The attorney filing a case should complete the form as follows:

I.(a)    Plaintiffs-Defendants. Enter names (last, first, middle initial) of plaintiff and defendant. If the plaintiff or defendant is a government agency, use
         only the full name or standard abbreviations. If the plaintiff or defendant is an official within a government agency, identify first the agency and
         then the official, giving both name and title.
  (b)    County of Residence. For each civil case filed, except U.S. plaintiff cases, enter the name of the county where the first listed plaintiff resides at the
         time of filing. In U.S. plaintiff cases, enter the name of the county in which the first listed defendant resides at the time of filing. (NOTE: In land
         condemnation cases, the county of residence of the "defendant" is the location of the tract of land involved.)
  (c)    Attorneys. Enter the firm name, address, telephone number, and attorney of record. If there are several attorneys, list them on an attachment, noting
         in this section "(see attachment)".

II.      Jurisdiction. The basis of jurisdiction is set forth under Rule 8(a), F.R.Cv.P., which requires that jurisdictions be shown in pleadings. Place an "X"
         in one of the boxes. If there is more than one basis of jurisdiction, precedence is given in the order shown below.
         United States plaintiff. (1) Jurisdiction based on 28 U.S.C. 1345 and 1348. Suits by agencies and officers of the United States are included here.
         United States defendant. (2) When the plaintiff is suing the United States, its officers or agencies, place an "X" in this box.
         Federal question. (3) This refers to suits under 28 U.S.C. 1331, where jurisdiction arises under the Constitution of the United States, an amendment
         to the Constitution, an act of Congress or a treaty of the United States. In cases where the U.S. is a party, the U.S. plaintiff or defendant code takes
         precedence, and box 1 or 2 should be marked.
         Diversity of citizenship. (4) This refers to suits under 28 U.S.C. 1332, where parties are citizens of different states. When Box 4 is checked, the
         citizenship of the different parties must be checked. (See Section III below; NOTE: federal question actions take precedence over diversity
         cases.)

III.     Residence (citizenship) of Principal Parties. This section of the JS 44 is to be completed if diversity of citizenship was indicated above. Mark this
         section for each principal party.

IV.      Nature of Suit. Place an "X" in the appropriate box. If there are multiple nature of suit codes associated with the case, pick the nature of suit code
         that is most applicable. Click here for: Nature of Suit Code Descriptions.

V.       Origin. Place an "X" in one of the seven boxes.
         Original Proceedings. (1) Cases which originate in the United States district courts.
         Removed from State Court. (2) Proceedings initiated in state courts may be removed to the district courts under Title 28 U.S.C., Section 1441.
         When the petition for removal is granted, check this box.
         Remanded from Appellate Court. (3) Check this box for cases remanded to the district court for further action. Use the date of remand as the filing
         date.
         Reinstated or Reopened. (4) Check this box for cases reinstated or reopened in the district court. Use the reopening date as the filing date.
         Transferred from Another District. (5) For cases transferred under Title 28 U.S.C. Section 1404(a). Do not use this for within district transfers or
         multidistrict litigation transfers.
         Multidistrict Litigation – Transfer. (6) Check this box when a multidistrict case is transferred into the district under authority of Title 28 U.S.C.
         Section 1407.
         Multidistrict Litigation – Direct File. (8) Check this box when a multidistrict case is filed in the same district as the Master MDL docket.
         PLEASE NOTE THAT THERE IS NOT AN ORIGIN CODE 7. Origin Code 7 was used for historical records and is no longer relevant due to
         changes in statue.

VI.      Cause of Action. Report the civil statute directly related to the cause of action and give a brief description of the cause. Do not cite jurisdictional
         statutes unless diversity. Example: U.S. Civil Statute: 47 USC 553 Brief Description: Unauthorized reception of cable service

VII.     Requested in Complaint. Class Action. Place an "X" in this box if you are filing a class action under Rule 23, F.R.Cv.P.
         Demand. In this space enter the actual dollar amount being demanded or indicate other demand, such as a preliminary injunction.
         Jury Demand. Check the appropriate box to indicate whether or not a jury is being demanded.

VIII. Related Cases. This section of the JS 44 is used to reference related pending cases, if any. If there are related pending cases, insert the docket
      numbers and the corresponding judge names for such cases.

Date and Attorney Signature. Date and sign the civil cover sheet.
